                                        Case 8:20-cv-01481-MCS-ADS Document 17 Filed 04/27/21 Page 1 of 16 Page ID #:146



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                                             TORNOS TECHNOLOGIES U.S. CORPORATION
                                         6

                                         7
                                                                      UNITED STATES DISTRICT COURT
                                         8

                                         9          CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
                                        10

                                        11    TIN DINH,                                  Case No. 8:20-cv-01481-MCS-ADSx
                                                                                         Assigned to: Judge Mark C. Scarsi and
                                                                                         Magistrate Judge Autumn D. Spaeth
445 SOUTH FIGUEROA STREET, SUITE 3100




                                        12
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                                                            PLAINTIFF,
        LOS ANGELES, CA 90071




                                        13
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                                                                                         DISCOVERY MATTER
                                              vs.
                                        14

                                        15    TORNOS LTD., TORNOS        STIPULATED PROTECTIVE
                                                                         ORDER CONCERNING
                                              TECHNOLOGIES U.S.          CONFIDENTIAL INFORMATION
                                        16
                                              CORPORATION, AND DOES 1 TO
                                        17    25, INCLUSIVE,
                                                                         Action Date: May 29, 2020
                                        18                               Trial Date: November 16, 2021
                                                        DEFENDANTS.
                                        19

                                        20

                                        21

                                        22   I.     PURPOSES AND LIMITATIONS

                                        23          A.     Discovery in this action is likely to involve production of confidential,

                                        24          proprietary, or private information for which special protection from public disclosure
                                        25          and from use for any purpose other than prosecuting this litigation may be warranted.
                                        26
                                                    Accordingly, the parties hereby stipulate to and petition the Court to enter the following
                                        27
                                                    Stipulated Protective Order. The parties acknowledge that this Order does not confer
                                        28
                                                                                            -1-
                                             STIPULATED PROTECTIVE ORDER CONCERNING CONFIDENTIAL INFORMATION
                                                                                                                 Case No. 8:20-cv-01481-MCS-ADSx
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                                                   blanket protections on all disclosures or responses to discovery and that the protection
                                         1

                                         2         it affords from public disclosure and use extends only to the limited information or

                                         3         items that are entitled to confidential treatment under the applicable legal principles.

                                         4         The parties further acknowledge, as set forth in Section XIII(C), below, that this
                                         5         Stipulated Protective Order does not entitle them to file confidential information under
                                         6
                                                   seal; Civil Local Rule 79-5 sets forth the procedures that must be followed and the
                                         7
                                                   standards that will be applied when a party seeks permission from the Court to file
                                         8
                                                   material under seal.
                                         9
                                             II.   GOOD CAUSE STATEMENT
                                        10

                                        11         A.     This action is likely to involve trade secrets, customer and pricing lists and other
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                                        12         valuable research, development, commercial, financial, technical and/or proprietary
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                                                   information for which special protection from public disclosure and from use for any
                                        14
                                                   purpose other than prosecution of this action is warranted. Such confidential and
                                        15
                                                   proprietary materials and information consist of, among other things, confidential
                                        16
                                                   business or financial information, information regarding confidential business
                                        17
                                                   practices, or other confidential research, development, or commercial information
                                        18

                                        19         (including information implicating privacy rights of third parties), information

                                        20         otherwise generally unavailable to the public, or which may be privileged or otherwise

                                        21         protected from disclosure under state or federal statutes, court rules, case decisions, or
                                        22         common law. Accordingly, to expedite the flow of information, to facilitate the prompt
                                        23
                                                   resolution of disputes over confidentiality of discovery materials, to adequately protect
                                        24
                                                   information the parties are entitled to keep confidential, to ensure that the parties are
                                        25
                                                   permitted reasonable necessary uses of such material in preparation for and in the
                                        26

                                        27         conduct of trial, to address their handling at the end of the litigation, and serve the ends

                                        28         of justice, a protective order for such information is justified in this matter. It is the
                                                                                           -2-
                                             STIPULATED PROTECTIVE ORDER CONCERNING CONFIDENTIAL INFORMATION
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                                                    intent of the parties that information will not be designated as confidential for tactical
                                         1

                                         2          reasons and that nothing be so designated without a good faith belief that it has been

                                         3          maintained in a confidential, non-public manner, and there is good cause why it should

                                         4          not be part of the public record of this case.
                                         5   III.   DEFINITIONS
                                         6
                                                    A.     Action: This pending federal law suit; Tin Dinh v. Tornos US Technology
                                         7
                                                    Corporation; Case No. 8:20-cv-01481-MCS-ADSx.
                                         8
                                                    B.     Challenging Party: A Party or Non-Party that challenges the designation of
                                         9
                                                    information or items under this Order.
                                        10

                                        11          C.     “CONFIDENTIAL” Information or Items: Information (regardless of how it is
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                                        12          generated, stored or maintained) or tangible things that qualify for protection under
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                                                    Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
                                        14
                                                    Statement.
                                        15
                                                    D.     Counsel: Outside Counsel of Record and House Counsel (as well as their
                                        16
                                                    support staff).
                                        17
                                                    E.     Designating Party: A Party or Non-Party that designates information or items
                                        18

                                        19          that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

                                        20          F.     Disclosure or Discovery Material: All items or information, regardless of the

                                        21          medium or manner in which it is generated, stored, or maintained (including, among
                                        22          other things, testimony, transcripts, and tangible things), that are produced or
                                        23
                                                    generated in disclosures or responses to discovery in this matter.
                                        24
                                                    G.     Expert: A person with specialized knowledge or experience in a matter pertinent
                                        25
                                                    to the litigation who has been retained by a Party or its counsel to serve as an expert
                                        26

                                        27          witness or as a consultant in this Action.

                                        28
                                                                                            -3-
                                             STIPULATED PROTECTIVE ORDER CONCERNING CONFIDENTIAL INFORMATION
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                                                   H.     House Counsel: Attorneys who are employees of a party to this Action. House
                                         1

                                         2         Counsel does not include Outside Counsel of Record or any other outside counsel.

                                         3         I.     Non-Party: Any natural person, partnership, corporation, association, or other

                                         4         legal entity not named as a Party to this action.
                                         5         J.     Outside Counsel of Record: Attorneys who are not employees of a party to this
                                         6
                                                   Action but are retained to represent or advise a party to this Action and have appeared
                                         7
                                                   in this Action on behalf of that party or are affiliated with a law firm which has appeared
                                         8
                                                   on behalf of that party, and includes support staff.
                                         9
                                                   K.     Party: Any party to this Action, including all of its officers, directors, employees,
                                        10

                                        11         consultants, retained experts, and Outside Counsel of Record (and their support staffs).
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                                        12         L.     Producing Party: A Party or Non-Party that produces Disclosure or Discovery
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                                                   Material in this Action.
                                        14
                                                   M.     Professional Vendors:      Persons or entities that provide litigation support
                                        15
                                                   services (e.g., photocopying, videotaping, translating, preparing exhibits or
                                        16
                                                   demonstrations, and organizing, storing, or retrieving data in any form or medium)
                                        17
                                                   and their employees and subcontractors.
                                        18

                                        19         N.     Protected Material: Any Disclosure or Discovery Material that is designated as

                                        20         “CONFIDENTIAL.”

                                        21         O.     Receiving Party: A Party that receives Disclosure or Discovery Material from a
                                        22         Producing Party.
                                        23
                                             IV.   SCOPE
                                        24
                                                   A.     The protections conferred by this Stipulation and Order cover not only Protected
                                        25
                                                   Material (as defined above), but also (1) any information copied or extracted from
                                        26

                                        27         Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected

                                        28
                                                                                           -4-
                                             STIPULATED PROTECTIVE ORDER CONCERNING CONFIDENTIAL INFORMATION
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                                                   Material; and (3) any testimony, conversations, or presentations by Parties or their
                                         1

                                         2         Counsel that might reveal Protected Material.

                                         3         B.     Any use of Protected Material at trial shall be governed by the orders of the trial

                                         4         judge. This Order does not govern the use of Protected Material at trial.
                                         5   V.    DURATION
                                         6
                                                   A.     Even after final disposition of this litigation, the confidentiality obligations
                                         7
                                                   imposed by this Order shall remain in effect until a Designating Party agrees otherwise
                                         8
                                                   in writing or a court order otherwise directs. Final disposition shall be deemed to be
                                         9
                                                   the later of (1) dismissal of all claims and defenses in this Action, with or without
                                        10

                                        11         prejudice; and (2) final judgment herein after the completion and exhaustion of all
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                                        12         appeals, rehearings, remands, trials, or reviews of this Action, including the time limits
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                                                   for filing any motions or applications for extension of time pursuant to applicable law.
                                        14
                                             VI.   DESIGNATING PROTECTED MATERIAL
                                        15
                                                   A.     Exercise of Restraint and Care in Designating Material for Protection
                                        16
                                                          1.       Each Party or Non-Party that designates information or items for
                                        17
                                                          protection under this Order must take care to limit any such designation to
                                        18

                                        19                specific material that qualifies under the appropriate standards.              The

                                        20                Designating Party must designate for protection only those parts of material,

                                        21                documents, items, or oral or written communications that qualify so that other
                                        22                portions of the material, documents, items, or communications for which
                                        23
                                                          protection is not warranted are not swept unjustifiably within the ambit of this
                                        24
                                                          Order.
                                        25
                                                          2.       Mass, indiscriminate, or routinized designations are prohibited.
                                        26
                                        27                Designations that are shown to be clearly unjustified or that have been made for

                                        28                an improper purpose (e.g., to unnecessarily encumber the case development
                                                                                        -5-
                                             STIPULATED PROTECTIVE ORDER CONCERNING CONFIDENTIAL INFORMATION
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                                                        process or to impose unnecessary expenses and burdens on other parties) may
                                         1

                                         2              expose the Designating Party to sanctions.

                                         3              3.    If it comes to a Designating Party’s attention that information or items

                                         4              that it designated for protection do not qualify for protection, that Designating
                                         5              Party must promptly notify all other Parties that it is withdrawing the
                                         6
                                                        inapplicable designation.
                                         7
                                                   B.   Manner and Timing of Designations
                                         8
                                                        1.    Except as otherwise provided in this Order (see, e.g., Section B(2)(b)
                                         9
                                                        below), or as otherwise stipulated or ordered, Disclosure or Discovery Material
                                        10

                                        11              that qualifies for protection under this Order must be clearly so designated
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                                        12              before the material is disclosed or produced.
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                                                        2.    Designation in conformity with this Order requires the following:
                                        14
                                                              a.     For information in documentary form (e.g., paper or electronic
                                        15
                                                              documents, but excluding transcripts of depositions or other pretrial or
                                        16
                                                              trial proceedings), that the Producing Party affix at a minimum, the
                                        17
                                                              legend “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to
                                        18

                                        19                    each page that contains protected material. If only a portion or portions

                                        20                    of the material on a page qualifies for protection, the Producing Party also

                                        21                    must clearly identify the protected portion(s) (e.g., by making
                                        22                    appropriate markings in the margins).
                                        23
                                                              b.     A Party or Non-Party that makes original documents available for
                                        24
                                                              inspection need not designate them for protection until after the
                                        25
                                                              inspecting Party has indicated which documents it would like copied and
                                        26
                                        27                    produced. During the inspection and before the designation, all of the

                                        28                    material    made      available   for     inspection   shall   be    deemed
                                                                                         -6-
                                             STIPULATED PROTECTIVE ORDER CONCERNING CONFIDENTIAL INFORMATION
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                                                                 “CONFIDENTIAL.”        After the inspecting Party has identified the
                                         1

                                         2                       documents it wants copied and produced, the Producing Party must

                                         3                       determine which documents, or portions thereof, qualify for protection

                                         4                       under this Order. Then, before producing the specified documents, the
                                         5                       Producing Party must affix the “CONFIDENTIAL legend” to each page
                                         6
                                                                 that contains Protected Material. If only a portion or portions of the
                                         7
                                                                 material on a page qualifies for protection, the Producing Party also must
                                         8
                                                                 clearly identify the protected portion(s) (e.g., by making appropriate
                                         9
                                                                 markings in the margins).
                                        10

                                        11                       c.     For testimony given in depositions, that the Designating Party
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                                        12                       identify the Disclosure or Discovery Material on the record, before the
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                                                                 close of the deposition all protected testimony.
                                        14
                                                                 d.     For information produced in form other than document and for
                                        15
                                                                 any other tangible items, that the Producing Party affix in a prominent
                                        16
                                                                 place on the exterior of the container or containers in which the
                                        17
                                                                 information is stored the legend “CONFIDENTIAL.” If only a portion or
                                        18

                                        19                       portions of the information warrants protection, the Producing Party, to

                                        20                       the extent practicable, shall identify the protected portion(s).

                                        21         C.   Inadvertent Failure to Designate
                                        22              1.       If timely corrected, an inadvertent failure to designate qualified
                                        23
                                                        information or items does not, standing alone, waive the Designating Party’s
                                        24
                                                        right to secure protection under this Order for such material. Upon timely
                                        25
                                                        correction of a designation, the Receiving Party must make reasonable efforts to
                                        26
                                        27              assure that the material is treated in accordance with the provisions of this

                                        28              Order.
                                                                                          -7-
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                                             VII.   CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                         1

                                         2          A.     Timing of Challenges

                                         3                 1.     Any party or Non-Party may challenge a designation of confidentiality at

                                         4                 any time that is consistent with the Court’s Scheduling Order.
                                         5          B.     Meet and Confer
                                         6
                                                           1.     The Challenging Party shall initiate the dispute resolution process under
                                         7
                                                           Local Rule 37.1 et seq.
                                         8
                                                    C.     The burden of persuasion in any such challenge proceeding shall be on the
                                         9
                                                    Designating Party. Frivolous challenges, and those made for an improper purpose
                                        10

                                        11          (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
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                                        12          expose the Challenging Party to sanctions. Unless the Designating Party has waived or
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                                                    withdrawn the confidentiality designation, all parties shall continue to afford the
                                        14
                                                    material in question the level of protection to which it is entitled under the Producing
                                        15
                                                    Party’s designation until the Court rules on the challenge.
                                        16
                                             VIII. ACCESS TO AND USE OF PROTECTED MATERIAL
                                        17
                                                    A.     Basic Principles
                                        18

                                        19                 1.     A Receiving Party may use Protected Material that is disclosed or

                                        20                 produced by another Party or by a Non-Party in connection with this Action only

                                        21                 for prosecuting, defending, or attempting to settle this Action. Such Protected
                                        22                 Material may be disclosed only to the categories of persons and under the
                                        23
                                                           conditions described in this Order. When the Action has been terminated, a
                                        24
                                                           Receiving Party must comply with the provisions of Section XIV below.
                                        25
                                                           2.     Protected Material must be stored and maintained by a Receiving Party
                                        26
                                        27                 at a location and in a secure manner that ensures that access is limited to the

                                        28                 persons authorized under this Order.
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                                                   B.   Disclosure of “CONFIDENTIAL” Information or Items
                                         1

                                         2              1.    Unless otherwise ordered by the Court or permitted in writing by the

                                         3              Designating Party, a Receiving Party may disclose any information or item

                                         4              designated “CONFIDENTIAL” only to:
                                         5                    a.    The Receiving Party’s Outside Counsel of Record in this Action, as
                                         6
                                                              well as employees of said Outside Counsel of Record to whom it is
                                         7
                                                              reasonably necessary to disclose the information for this Action;
                                         8
                                                              b.    The officers, directors, and employees (including House Counsel)
                                         9
                                                              of the Receiving Party to whom disclosure is reasonably necessary for this
                                        10

                                        11                    Action;
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                                        12                    c.    Experts (as defined in this Order) of the Receiving Party to whom
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                                                              disclosure is reasonably necessary for this Action and who have signed
                                        14
                                                              the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                        15
                                                              d.    The Court and its personnel;
                                        16
                                                              e.    Court reporters and their staff;
                                        17
                                                              f.    Professional jury or trial consultants, mock jurors, and
                                        18

                                        19                    Professional Vendors to whom disclosure is reasonably necessary or this

                                        20                    Action and who have signed the “Acknowledgment and Agreement to be

                                        21                    Bound” attached as Exhibit A hereto;
                                        22                    g.    The author or recipient of a document containing the information
                                        23
                                                              or a custodian or other person who otherwise possessed or knew the
                                        24
                                                              information;
                                        25
                                                              h.    During their depositions, witnesses, and attorneys for witnesses,
                                        26
                                        27                    in the Action to whom disclosure is reasonably necessary provided: (i)

                                        28                    the deposing party requests that the witness sign the “Acknowledgment
                                                                                     -9-
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                                                                and Agreement to Be Bound;” and (ii) they will not be permitted to keep
                                         1

                                         2                      any confidential information unless they sign the “Acknowledgment and

                                         3                      Agreement to Be Bound,” unless otherwise agreed by the Designating

                                         4                      Party or ordered by the Court. Pages of transcribed deposition testimony
                                         5                      or exhibits to depositions that reveal Protected Material may be
                                         6
                                                                separately bound by the court reporter and may not be disclosed to
                                         7
                                                                anyone except as permitted under this Stipulated Protective Order; and
                                         8
                                                                i.     Any mediator or settlement officer, and their supporting
                                         9
                                                                personnel, mutually agreed upon by any of the parties engaged in
                                        10

                                        11                      settlement discussions.
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                                        12   IX.   PROTECTED MATERIAL SUPOENAED OR ORDERED PRODUCED IN
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                                                   OTHER LITIGATION
                                        14
                                                   A.    If a Party is served with a subpoena or a court order issued in other litigation
                                        15
                                                   that compels disclosure of any information or items designated in this Action as
                                        16
                                                   “CONFIDENTIAL,” that Party must:
                                        17
                                                         1.     Promptly notify in writing the Designating Party. Such notification shall
                                        18

                                        19               include a copy of the subpoena or court order;

                                        20               2.     Promptly notify in writing the party who caused the subpoena or order to

                                        21               issue in the other litigation that some or all of the material covered by the
                                        22               subpoena or order is subject to this Protective Order. Such notification shall
                                        23
                                                         include a copy of this Stipulated Protective Order; and
                                        24
                                                         3.     Cooperate with respect to all reasonable procedures sought to be pursued
                                        25
                                                         by the Designating Party whose Protected Material may be affected.
                                        26
                                        27         B.    If the Designating Party timely seeks a protective order, the Party served with

                                        28         the subpoena or court order shall not produce any information designated in this action
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                                                   as “CONFIDENTIAL” before a determination by the Court from which the subpoena or
                                         1

                                         2         order issued, unless the Party has obtained the Designating Party’s permission. The

                                         3         Designating Party shall bear the burden and expense of seeking protection in that court

                                         4         of its confidential material and nothing in these provisions should be construed as
                                         5         authorizing or encouraging a Receiving Party in this Action to disobey a lawful directive
                                         6
                                                   from another court.
                                         7
                                             X.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
                                         8
                                                   THIS LITIGATION
                                         9
                                                   A.     The terms of this Order are applicable to information produced by a Non-Party
                                        10

                                        11         in this Action and designated as “CONFIDENTIAL.” Such information produced by
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                                        12         Non-Parties in connection with this litigation is protected by the remedies and relief
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                                                   provided by this Order. Nothing in these provisions should be construed as prohibiting
                                        14
                                                   a Non-Party from seeking additional protections.
                                        15
                                                   B.     In the event that a Party is required, by a valid discovery request, to produce a
                                        16
                                                   Non-Party’s confidential information in its possession, and the Party is subject to an
                                        17
                                                   agreement with the Non-Party not to produce the Non-Party’s confidential
                                        18

                                        19         information, then the Party shall:

                                        20                1.     Promptly notify in writing the Requesting Party and the Non-Party that

                                        21                some or all of the information requested is subject to a confidentiality agreement
                                        22                with a Non-Party;
                                        23
                                                          2.     Promptly provide the Non-Party with a copy of the Stipulated Protective
                                        24
                                                          Order in this Action, the relevant discovery request(s), and a reasonably specific
                                        25
                                                          description of the information requested; and
                                        26

                                        27                3.     Make the information requested available for inspection by the Non-

                                        28                Party, if requested.
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                                                   C.     If the Non-Party fails to seek a protective order from this court within 14 days
                                         1

                                         2         of receiving the notice and accompanying information, the Receiving Party may

                                         3         produce the Non-Party’s confidential information responsive to the discovery request.

                                         4         If the Non-Party timely seeks a protective order, the Receiving Party shall not produce
                                         5         any information in its possession or control that is subject to the confidentiality
                                         6
                                                   agreement with the Non-Party before a determination by the court. Absent a court
                                         7
                                                   order to the contrary, the Non-Party shall bear the burden and expense of seeking
                                         8
                                                   protection in this court of its Protected Material.
                                         9
                                             XI.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                                        10

                                        11         A.     If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
445 SOUTH FIGUEROA STREET, SUITE 3100




                                        12         Protected Material to any person or in any circumstance not authorized under this
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        LOS ANGELES, CA 90071




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                                                   Stipulated Protective Order, the Receiving Party must immediately (1) notify in writing
                                        14
                                                   the Designating Party of the unauthorized disclosures, (2) use its best efforts to retrieve
                                        15
                                                   all unauthorized copies of the Protected Material, (3) inform the person or persons to
                                        16
                                                   whom unauthorized disclosures were made of all the terms of this Order, and (4)
                                        17
                                                   request such person or persons to execute the “Acknowledgment and Agreement to be
                                        18

                                        19         Bound” that is attached hereto as Exhibit A.

                                        20   XII. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE

                                        21         PROTECTED MATERIAL
                                        22         A.     When a Producing Party gives notice to Receiving Parties that certain
                                        23
                                                   inadvertently produced material is subject to a claim of privilege or other protection,
                                        24
                                                   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
                                        25
                                                   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
                                        26

                                        27         may be established in an e-discovery order that provides for production without prior

                                        28         privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
                                                                                        -12-
                                             STIPULATED PROTECTIVE ORDER CONCERNING CONFIDENTIAL INFORMATION
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                                                   parties reach an agreement on the effect of disclosure of a communication or
                                         1

                                         2         information covered by the attorney-client privilege or work product protection, the

                                         3         parties may incorporate their agreement in the Stipulated Protective Order submitted

                                         4         to the Court.
                                         5   XIII. MISCELLANEOUS
                                         6
                                                   A.     Right to Further Relief
                                         7
                                                          1.       Nothing in this Order abridges the right of any person to seek its
                                         8
                                                          modification by the Court in the future.
                                         9
                                                   B.     Right to Assert Other Objections
                                        10

                                        11                1.       By stipulating to the entry of this Protective Order, no Party waives any
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                                        12                right it otherwise would have to object to disclosing or producing any information
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                                                          or item on any ground not addressed in this Stipulated Protective Order.
                                        14
                                                          Similarly, no Party waives any right to object on any ground to use in evidence of
                                        15
                                                          any of the material covered by this Protective Order.
                                        16
                                                   C.     Filing Protected Material
                                        17
                                                          1.       A Party that seeks to file under seal any Protected Material must comply
                                        18

                                        19                with Civil Local Rule 79-5. Protected Material may only be filed under seal

                                        20                pursuant to a court order authorizing the sealing of the specific Protected

                                        21                Material at issue. If a Party's request to file Protected Material under seal is
                                        22                denied by the Court, then the Receiving Party may file the information in the
                                        23
                                                          public record unless otherwise instructed by the Court.
                                        24
                                             XIV. FINAL DISPOSITION
                                        25
                                                   A.     After the final disposition of this Action, as defined in Section V, within sixty (60)
                                        26

                                        27         days of a written request by the Designating Party, each Receiving Party must return all

                                        28         Protected Material to the Producing Party or destroy such material. As used in this
                                                                                       -13-
                                             STIPULATED PROTECTIVE ORDER CONCERNING CONFIDENTIAL INFORMATION
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               April 27, 2021               /s/ Autumn D. Spaeth
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                                                                           EXHIBIT A
                                         1                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                                         2

                                         3           I,                                 [print or type full name], of

                                         4                  [print or type full address], declare under penalty of perjury that I have read in
                                         5   its entirety and understand the Stipulated Protective Order that was issue by the United States
                                         6
                                             District Court for the Central District of California on ________________[DATE] in the
                                         7
                                             case of Tin Dinh v. Tornos US Technology Corporation; Case No. 8:20-cv-01481-MCS-ADSx. I
                                         8
                                             agree to comply with and to be bound by all the terms of this Stipulated Protective Order and
                                         9
                                             I understand and acknowledge that failure to so comply could expose me to sanctions and
                                        10

                                        11   punishment in the nature of contempt. I solemnly promise that I will not disclose in any
445 SOUTH FIGUEROA STREET, SUITE 3100




                                        12   manner any information or item that is subject to this Stipulated Protective Order to any
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        LOS ANGELES, CA 90071




                                        13
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                                             person or entity except in strict compliance with the provisions of this Order.
                                        14
                                                     I further agree to submit to the jurisdiction of the United States District Court for the
                                        15
                                             Central District of California for the purpose of enforcing the terms of this Stipulated Protective
                                        16
                                             Order, even if such enforcement proceedings occur after termination of this action. I hereby
                                        17
                                             appoint                                    [print or type full name] of
                                        18

                                        19                  [print or type full address and telephone number] as my California agent for

                                        20   service of process in connection with this action or any proceedings related to enforcement of

                                        21   this Stipulated Protective Order.
                                        22   Date:
                                        23
                                             City and State where sworn and signed:
                                        24
                                             Printed Name:
                                        25
                                             Signature:
                                        26
                                        27

                                        28
                                                                                            -16-
                                             STIPULATED PROTECTIVE ORDER CONCERNING CONFIDENTIAL INFORMATION
                                                                                                                 Case No. 8:20-cv-01481-MCS-ADSx
